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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
E. JEAN CARROLL,

                          Plaintiff,


             -against-                                                20-cv-7311 (LAK)


DONALD J. TRUMP, in his personal capacity,

                     Defendant.
------------------------------------------x




                                       OPINION




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LEWIS A. KAPLAN, District Judge.

               The plaintiff in this case, E. Jean Carroll, published a book excerpt in 2019 in

which she wrote that, in the 1990s, businessman Donald J. Trump, as he then was, raped her in a

dressing room of a New York City department store. Almost immediately after publication of

Ms. Carroll’s excerpt, Mr. Trump – who by then was president – told the press that Ms. Carroll

had made up the rape story. In substance, he called Ms. Carroll a liar and stated that he never

met her. So Ms. Carroll sued him in New York State court. She claims that his statements

accusing her of lying about the alleged rape were false, that they injured her reputation, and that

she is entitled to damages from him. The legal terms are that Ms. Carroll asserts that President

Trump’s statements were defamatory – libelous and slanderous.

               The question whether Mr. Trump in fact raped Ms. Carroll appears to be at the

heart of her lawsuit. That is so because the truth or falsity of a defendant’s alleged defamatory

statements can be dispositive of any defamation case. Although the Court eventually may need

to resolve this issue, this opinion concerns a threshold question. To make the significance of that

question clear, we must digress into some technical detail.

               Ms. Carroll sued the president in his individual (or personal) capacity, as

distinguished from suing him as the president (i.e., in his official capacity). In other words, she

claims that the president personally harmed her and that he, not the U.S. government, should pay

any damages to which she may be entitled.

               For nearly a year, this lawsuit proceeded in state court as an ordinary defamation

case between Ms. Carroll and President Trump. The president defended the case as a private

individual. He was represented by his personal lawyers, not by the U.S. Department of Justice

(“DOJ”) or other government lawyers. And although he claimed that he could not be sued
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because he currently is president, the state court rejected that argument and denied a stay of

further proceedings, which would have included pretrial discovery. 1

               It was at that point that the U.S. government inserted itself into the case. It

“removed” the case from the state court to this one – that is, it filed a paper certifying that a

designee of the Attorney General had determined that the president’s statements to the press

were part of his job as president and that this case therefore could be moved into federal court.

For reasons that will appear, that certificate – whether it is right or wrong – conclusively

authorized the removal of the case, and no one claims otherwise. But the DOJ did something

else too, and that is what now is before the Court.

               The government moves to substitute the United States for President Trump as the

defendant. It does so in essence on the theory that this is not truly a lawsuit against President

Trump as a private individual. Instead, the government argues, this is really a lawsuit against the

United States because Ms. Carroll has sued an “employee” of the United States of America for

actions within the scope of his employment. The government thus asserts that this case is

virtually identical in principle to a lawsuit against a Postal Service driver for causing a car

accident while delivering the mail. But the word “virtually” in the last sentence is necessary

because there is an important difference between this case and the case of the hypothetical mail

driver. Here is the catch.




       1

               Dkt. 14-111.
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               The United States of America is a sovereign nation. It therefore shares with other

nations what is called sovereign immunity. This means that it cannot be sued for money

damages except to the extent that it explicitly has agreed to being sued. 2

               Within certain limits, the United States has so agreed in a statute called the

Federal Tort Claims Act (the “FTCA”). The FTCA authorizes damages claims for negligence

and certain other civil wrongs committed by government employees within the scope of their

employment. The postal driver hypothetical is a classic example of a case that generally would

be covered by the statute. But the FTCA specifically excepts libel and slander cases from the

United States’s consent to be sued. Thus, if this really is a suit against the United States, it is one

to which the United States seemingly has not waived its sovereign immunity. So if President

Trump is an “employee of the Government” within the meaning of the FTCA, and if his

statements about Ms. Carroll were within “the scope of his employment,” it could well be argued

that this case must be dismissed because the United States has sovereign immunity.3 In that




       2

               Sovereign immunity derives from the principle that “the law ascribes to the king the
               attribute of sovereignty, or pre-eminence. . . . Hence it is, that no suit or action can be
               brought against the king, even in civil matters, because no court can have jurisdiction over
               him. For all jurisdiction implies superiority of power . . . .” 1 W. BLACKSTONE,
               COMMENTARIES ON THE LAWS OF ENGLAND 234-235 (1765) (quoted in Alden v. Maine, 527
               U.S. 706, 715 (1999)).
       3

               This point has been made in the media. E.g., Barbara McQuade, Barr’s Defense of Trump
               in E. Jean Carroll’s Suit Could Give Presidents Carte Blanche, (Oct. 21, 2020),
               https://www.nbcnews.com/opinion/barr-s-defense-trump-e-jean-carroll-s-suit-could-n12
               44088; James D. Zirin, The Strange Case of ‘Carroll v. Trump’ – An Adventure in
               Wonderland (Sept. 11, 2020),
               https://billmoyers.com/story/the-strange-case-of-carroll-v-trump-an-adventure-in-wonde
               rland/. The Court expresses no opinion on this question, which is not now before it.
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event, Ms. Carroll would be left with no remedy, even if the president’s statements were false

and defamatory.

               This is the nutshell version of this case. But for the present purpose of deciding

the government’s motion to substitute, the dispositive questions are two:

       •       Is the president an “employee of the Government” within the meaning of the
               FTCA?

       •       Even if the president is an “employee of the Government” as the FTCA defines
               that term, were his statements concerning Ms. Carroll within the scope of his
               “employment” under the law of the relevant jurisdiction?

               The answer to both questions is “no.” While the president possesses all of the

executive power of the United States, he is not an “employee” within the meaning of the FTCA.

The FTCA’s definition of that term does not include presidents. And even if the president were

an employee under that statute, his statements concerning Ms. Carroll were not within the scope

of his employment under the law of the relevant jurisdiction, which for reasons explained below

is Washington, D.C.



                                              Facts

               Before turning to the details of this dispute, the Court places them in context by

reviewing the constitutional and statutory framework in which this motion is situated.



Statutory Context – The FTCA and the Westfall Act

               We already have introduced the principle of sovereign immunity. It remains to

mention a closely related principle, namely that federal employees and the president long
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enjoyed absolute official immunity with respect to lawsuits in federal courts charging them with

liability for performance of their official functions.4

                 In 1946, Congress enacted the FTCA. The statute was a major step to provide

compensation to victims of certain torts – i.e., civil wrongs such as negligence – committed by

federal employees. As relevant here, the FTCA provides that the district courts of the United

States

                 “have exclusive jurisdiction of civil actions on claims against the United States,
                 for money damages, accruing on and after January 1, 1945, for injury or loss of
                 property, or personal injury or death caused by the negligent or wrongful act or
                 omission of any employee of the Government while acting within the scope of his
                 office or employment, under circumstances where the United States, if a private
                 person, would be liable to the claimant in accordance with the law of the place
                 where the act or omission occurred.”5

                 Although the FTCA’s precise workings are complicated, its basic function is

simple. With numerous qualifications and exceptions, the statute allows a person injured by an

“employee of the Government” who is “acting within the scope of his office or employment” to

sue the United States for tort damages, notwithstanding its sovereign immunity, if the United

States would be liable as an employer under the law of the state where the act or omission

occurred.      Thus, Congress adopted the view that (1) a suit for damages against a federal

employee acting within the scope of his or her employment in substance is a suit against the

United States, (2) in such a case the United States would be substituted as the defendant for the

individual employee, and (3) the United States is responsible for defending such lawsuits in the




         4

                 See, e.g., Barr v. Matteo, 360 U.S. 564, 597 (1959).
         5

                 28 U.S.C. § 1346(b)(1).
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name of the United States and for paying any damages awarded. The individual employee sued

in his or her official capacity is not a proper defendant in such a case.

               The FTCA does not authorize suits against government employees in their

individual or personal capacities. But state law often does. Thus, even after the FTCA was

enacted, federal employees were exposed to tort actions against them in their individual

capacities in some states.

               In 1988, the Supreme Court held in Westfall v. Erwin6 that federal government

employees are not absolutely immune from state tort claims based on conduct performed within

the scope of their employment except in certain circumstances.7 This decision opened the door

to individual liability for federal employees wider than previously had been understood.

               Congress moved promptly to close that door. In 1988, it enacted the Federal

Employees Liability Reform and Tort Compensation Act of 1988, more commonly known as the

Westfall Act.8 The statute’s “core purpose . . . is to relieve covered employees from the cost and

effort of defending [a] lawsuit, and to place those burdens on the Government’s shoulders.”9

Pursuant to the Westfall Act:

               “The remedy against the United States provided by sections 1346(b) [the FTCA]
               and 2672 of this title for injury or loss of property, or personal injury or death
               arising or resulting from the negligent or wrongful act or omission of any
               employee of the Government while acting within the scope of his office or


       6

               484 U.S. 292 (1988).
       7

               Id. at 299.
       8

               The statute as amended is codified at 28 U.S.C. § 2679.
       9

               Osborn v. Haley, 549 U.S. 225, 252 (2007).
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                 employment is exclusive of any other civil action or proceeding for money
                 damages by reason of the same subject matter against the employee whose act or
                 omission gave rise to the claim or against the estate of such employee. Any other
                 civil action or proceeding for money damages arising out of or relating to the
                 same subject matter against the employee or the employee’s estate is precluded
                 without regard to when the act or omission occurred.”10

                 In essence, the quoted provision bars tort claims against government employees

acting within the scope of their employment. But it provides plaintiffs with a different remedy:

a lawsuit against the United States under the FTCA. Under subsection (c) of the Westfall Act,

“[t]he Attorney General shall defend any civil action or proceeding brought in any court against

any employee of the Government or his estate for any [of the above described] damage or

injury.”11

                 Because the Westfall Act operates where a lawsuit could have been brought

against the United States under the FTCA, the statutes share the same threshold requirements.

Thus, in order for the Westfall Act to apply, the defendant must be an “employee of the

Government” who was acting within the scope of his or her employment. Under Subsection (d)

of the Westfall Act, the Attorney General makes an initial determination as to both issues:

                 “Upon certification by the Attorney General that the defendant employee was
                 acting within the scope of his office or employment at the time of the incident out
                 of which the claim arose, any civil action or proceeding commenced upon such
                 claim in a United States district court shall be deemed an action against the
                 United States under the provisions of this title and all references thereto, and the
                 United States shall be substituted as the party defendant.” 12



        10

                 28 U.S.C. § 2679(b)(1).
        11

                 Id. § 2679(c).
        12

                 Id. § 2679(d)(1).
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               If the Attorney General issues a certification and the action is pending in state

court, the Westfall Act requires that the action be removed to federal court.13 If the Attorney

General declines to issue a certification, “the employee may at any time before trial petition the

court to find and certify that the employee was acting within the scope of his office or

employment.”14 Either way, if the court is satisfied that the threshold requirements are met, the

action “shall proceed in the same manner as any action against the United States filed pursuant

to [the FTCA].”15

               The Attorney General’s certification is conclusive only “for purposes of

removal”16 – that is to say, only for purposes of whether the action shall continue in federal

rather than state court.        As the Supreme Court has held, such a certification “does not

conclusively establish as correct the substitution of the United States as defendant in place of the

employee.”17 “The statute is fairly construed to allow petitioners to present to the District Court

their objections to the Attorney General’s scope-of-employment certification . . . .”18 Hence, the

federal court to which the action has been removed must determine for itself whether the




       13

               Id. § 2679(d)(2).
       14

               Id. § 2679(d)(3).
       15

               Id. § 2679(d)(4).
       16

               Osborn, 549 U.S. at 242 (emphasis in original) (quoting 28 U.S.C. § 2697(d)(2)).
       17

               Gutierrez de Martinez v. Lamagno, 515 U.S. 417, 434 (1995).
       18

               Id. at 436-37.
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individual defendant is covered by the statute and, if so, whether the actions of which that

defendant is accused or committed were within the scope of the defendant’s federal employment.

If those conditions both are met, the United States is made the defendant and the individual

defendant is dismissed from the case. If either condition is not met, the case proceeds against the

individual defendant in his or her personal capacity.



The Events Giving Rise to This Lawsuit

               According to the complaint, Mr. Trump, then a private citizen, encountered Ms.

Carroll at the Bergdorf Goodman department store in Manhattan some time between the fall of

1995 and the spring of 1996.19       Ms. Carroll, who was an advice columnist appearing on

television, alleges that Mr. Trump recognized her and asked her to help him select a present for a

woman who was not with him at the store.20 The two eventually went to the lingerie department,

where, according to the complaint, Mr. Trump insisted that the plaintiff try on a bodysuit.21 Ms.

Carroll alleges next that what she first perceived as playful banter took a dark turn when Mr.

Trump closed the door of a dressing room, pushed her against a wall, and began kissing her

without her consent.22 She claims that she pushed Mr. Trump away and laughed at him, and that




       19

               Dkt. 3-3 at 5.
       20

               Id.
       21

               Id. at 6.
       22

               Id.
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he then pressed her against the wall once more, pulled down her tights, and forcibly raped her for

several minutes until she managed to push him off and flee the store.23

                Ms. Carroll asserts that she immediately told one friend about the alleged rape

and told another friend in the coming days.24 She did not, however, make the allegations public

at that time.25 They remained private for many years.

                In 2017, the plaintiff began drafting a book about twenty-one men who had left

ugly marks on her life.26 One of those men was Donald Trump.27 On June 21, 2019, New York

magazine published an excerpt from the plaintiff’s then forthcoming book. The excerpt tells a

more detailed version of the allegations outlined above.28 The book was published on July 2,

2019.29

                Roughly two hours after the excerpt was published in New York magazine, the

president issued a public statement to media outlets. It said:

                “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me at
                Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is
                trying to sell a new book – that should indicate her motivation. It should be sold

          23

                Id. at 6-7.
          24

                Id. at 7.
          25

                Id. at 8.
          26

                Id. at 13.
          27

                Id.
          28

                Id. at 14.
          29

                Id.
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              in the fiction section. Shame on those who make up false stories of assault to try
              to get publicity for themselves, or sell a book, or carry out a political agenda –
              like Julie Swetnick who falsely accused Justice Brett Kavanaugh. It’s just as bad
              for people to believe it, particularly when there is zero evidence. Worse still for a
              dying publication to try to prop itself up by peddling fake news – it’s an epidemic.

              Ms. Carroll & New York Magazine: No pictures? No surveillance? No video?
              No reports? No sales attendants around?? I would like to thank Bergdorf
              Goodman for confirming that they have no video footage of any such incident,
              because it never happened.

              False accusations diminish the severity of real assault. All should condemn false
              accusations and any actual assault in the strongest possible terms.

              If anyone has information that the Democratic Party is working with Ms. Carroll
              or New York Magazine, please notify us as soon as possible. The world should
              know what’s really going on. It is a disgrace and people should pay dearly for
              such false accusations.”30

              The next day, June 22, 2019, a reporter at the White House confronted President

Trump about the story.31 They had the following exchange:

              [Reporter:] Mr. President, you had said earlier that you never met E. Jean Carroll.
               There was a photograph of you and her in the late 1980’s —

              [President Trump:] I have no idea who this woman is. This is a woman who has
              also accused other men of things, as you know. It is a totally false accusation. I
              think she was married — as I read; I have no idea who she is — but she was
              married to a, actually, nice guy, Johnson — a newscaster.

              [Reporter:] You were in a photograph with her.

              [President Trump:] Standing with [my] coat on in a line – give me a break – with
              my back to the camera. I have no idea who she is. What she did is – it’s terrible,
              what’s going on. So it’s a total false accusation and I don’t know anything about
              her. And she’s made this charge against others.




       30

              Id. at 15.
       31

              Id. at 17.
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                                                                                                 12

               And, you know, people have to be careful because they’re playing with very
               dangerous territory. And when they do that – and it’s happening more and more.
               When you look at what happened to Justice Kavanaugh and you look at what’s
               happening to others, you can’t do that for the sake of publicity.

               New York Magazine is a failing magazine. It’s ready to go out of business, from
               what I hear. They’ll do anything they can. But this was about many men, and I
               was one of the many men that she wrote about. It’s a totally false accusation. I
               have absolutely no idea who she is. There’s some picture where we’re shaking
               hands. It looks like at some kind of event. I have my coat on. I have my wife
               standing next to me. And I didn’t know her husband, but he was a newscaster.
               But I have no idea who she is – none whatsoever.

               It’s a false accusation and it’s a disgrace that a magazine like New York – which
               is one of the reasons it’s failing. People don’t read it anymore, so they’re trying
               to get readership by using me. It’s not good.

               You know, there were cases that the mainstream media didn’t pick up. And I
               don’t know if you’ve seen them. And they were put on Fox. But there were
               numerous cases where women were paid money to say bad things about me. You
               can’t do that. You can’t do that. And those women did wrong things – that
               women were actually paid money to say bad things about me.

               But here’s a case, it’s an absolute disgrace that she’s allowed to do that.” 32

               President Trump commented on the story a third time on June 24, 2019, when he

gave an interview to The Hill. As relevant here, he stated: “I’ll say it with great respect: Number

one, she’s not my type. Number two, it never happened. It never happened, OK?”33



Procedural Background

               On November 4, 2019, the plaintiff filed this lawsuit in the New York Supreme




       32

               Id. at 17-18.
       33

               Id. at 19.
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Court, New York County, against President Trump in his personal capacity.34 On the basis of

the June 21, June 22, and June 24 statements, she alleged that the president defamed her under

New York law.35

               The lawsuit proceeded in state court for ten months during which time the court

resolved, among other things, a motion to dismiss and several motions to stay.36 On September

8, 2020, James G. Touhey, Jr., Director of the Torts Branch of the Civil Division of the U.S.

Department of Justice, certified on behalf of the Attorney General “on the basis of the

information now available with respect to the incidents alleged in the [plaintiff’s] complaint, that

Defendant Donald J. Trump was acting within the scope of his office as the President of the

United States at the time of the alleged conduct.”37 Shortly after, the government filed in this

Court a notice of removal.38 It filed also a motion, pursuant to the Westfall Act, to substitute

itself in place of President Trump as the defendant.39 It is that motion that now is ripe for

decision.




       34

               Id. at 1.
       35

               Id. at 26-27.
       36

               See, e.g., Dkts. 14-36, 14-111.
       37

               Dkt. 3-4.
       38

               Dkt. 6.
       39

               Dkt. 3.
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                                              Discussion

              The government’s motion to substitute turns on whether the Attorney General’s

certification that President Trump was an employee of the government acting within the scope of

his employment was correct. As noted at the outset of this opinion, that question raises two

subsidiary issues: (1) whether the President of the United States is an “employee of the

Government” and, if the answer to this question is “yes,” (2) whether President Trump was

acting within the scope of his employment when he made the allegedly defamatory statements.40



I.     Whether the President Is an “Employee” Under the Westfall Act

              As noted above, the Westfall Act applies to any “employee of the Government.”41

That phrase is defined in 28 U.S.C. § 2671, a provision enacted by the Act of June 25, 1948 as

part of a “Tort Claims Procedure” package. The statute reads:

              “As used in this chapter and sections 1346(b) [the FTCA] and 2401(b) of this
              title, the term [42] * * *

       40

              For reasons explained below, D.C. law applies to this issue.
       41

              28 U.S.C. § 2679(b)(1).
       42

              The Act of June 25, 1948 contains an em dash in this location, signifying that the “As used
              in this chapter” clause applies to all three of the definitions that follow. See Act of June 25,
              1948, ch. 646, 62 Stat. 982, available at https://www.loc.gov/law/help/statutes-at-
              large/80th-congress/session-2/c80s2ch646.pdf. In 1962, Congress amended the definition
              of “federal agency,” the first defined term. In doing so, it omitted the em dash and
              combined the “As used in this chapter” clause with the paragraph defining “federal agency.”
              See Act of July 18, 1966, Pub. L. 89-506, 80 Stat. 307, available at
              https://www.govinfo.gov/content/pkg/STATUTE-80/pdf/STATUTE-80-Pg306.pdf. The
              failure to retain the em dash appears to have been a scrivener’s error. For one thing, the
              term “federal agency” is not used in Section 1346(b). And taking Congress literally would
              require a belief that, in updating the definition of “federal agency,” it silently chose to un-
              define “employee of the Government” as that term is used in the chapter where it is found
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              “‘Employee of the government’ includes (1) officers or employees of any federal
              agency, members of the military or naval forces of the United States, members of
              the National Guard while engaged in training or duty under section 115, 316, 502,
              503, 504, or 505 of title 32, and persons acting on behalf of a federal agency in an
              official capacity, temporarily or permanently in the service of the United States,
              whether with or without compensation, and (2) any officer or employee of a
              Federal public defender organization, except when such officer or employee
              performs professional services in the course of providing representation under
              section 3006A of title 18.”43

              The term “federal agency” also is defined by Section 2671:

              “‘Federal agency’ includes the executive departments, the judicial and legislative
              branches, the military departments, independent establishments of the United
              States, and corporations primarily acting as instrumentalities or agencies of the
              United States, but does not include any contractor with the United States.” 44

These definitions apply to both the Westfall Act provisions codified in 28 U.S.C. § 2679 and the

FTCA provisions codified in 28 U.S.C. § 1346(b).45

              Neither Ms. Carroll nor the government has cited any case addressing the

question whether the President of the United States is an “employee of the Government” under




              and in Section 1346(b) while inexplicably keeping it in the definition section. Whatever the
              case may be, the Supreme Court has stated that both definitions apply to Section 1346(b).
              See Logue v. United States, 412 U.S. 521, 525-26 (1973).
       43

              28 U.S.C. § 2671.
       44

              Id.
       45

              Section 2679, where the Westfall Act provisions are codified, is part of the chapter in which
              the definition is contained. See also note 42, supra.
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Section 2671 specifically or the Westfall Act or FTCA more generally. And the Court is aware

of none. We therefore begin the search for an answer to this question with the statutory text. 46



       A.      The Plain Language

               Section 2671’s definition of “employee of the Government” says that the term

“includes” five categories of government personnel:

       1.      “officers or employees of any federal agency,”

       2.      “members of the military . . . ,”

       3.      “members of the National Guard [in certain circumstances],”

       4.      “persons acting on behalf of a federal agency in an official capacity, temporarily
               or permanently in the service of the United States,” and

       5.      “any officer or employee of a Federal public defender organization.”

               Categories 2, 3 and 5 obviously do not apply to the president. Nor does category

4, which “is designed to cover special situations such as government officials who serve without

pay, or an employee of one government agency who is loaned to and works under the direct

supervision of another government agency.”47             Thus, the remaining question is whether




       46

               See, e.g., Alexander v. Sandoval, 532 U.S. 275, 288 (2001).
       47

               Leone v. United States, 910 F.2d 46, 51 (2d Cir. 1990); see also Logue, 412 U.S. at 531
               (noting that the legislative history of the provision suggests that “the language is designed
               to cover special situations such as the ‘dollar-a-year’ man who is in the service of the
               Government without pay, or an employee of another employer who is placed under direct
               supervision of a federal agency pursuant to contract or other arrangement”).
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presidents are “officers or employees of any federal agency.”48                 Unfortunately, the terms

“officers” and “employees” are not defined.49

               The president is a constitutional officer. He occupies the highest office in our

nation, which is created by Article II of the Constitution. But that is not what Section 2671

requires. It speaks only of “officers . . . of any federal agency,” not officers of the United States

within the meaning of the Constitution. So we turn to the question whether the president is an



       48

               The government argues for the first time in its reply brief that the use of the word “includes”
               indicates that the five categories that follow it are exemplary, not exclusive. In other words,
               the use of the word “includes” invites courts to rewrite Section 2671 by expanding
               “employees of the Government” to include categories of individuals that Congress did not
               see fit to identify. This contention fails.

               As an initial matter, counsel for the government at oral argument waived on the record all
               arguments raised for the first time in the government’s reply brief. See Tr. at 4:13-24 (Oct.
               21, 2020) (agreeing, in exchange for precluding the plaintiff from filing a surreply, “to
               invoke the time-honored principle that new arguments raised for the first time in a reply
               brief will not be considered”). This argument therefore is waived. See also Conn. Bar
               Ass’n v. United States, 620 F.3d 81, 91 (2d Cir. 2010) (“Issues raised for the first time in
               a reply brief are generally deemed waived.”).

               In any case, the Court would reject this argument. “[C]ourts aren’t free to rewrite clear
               statutes under the banner of our own policy concerns.” Azar v. Allina Health Servs., 139
               S. Ct. 1804 (2019). As discussed below, if Congress had intended to include an individual
               as significant and obvious as the president in this statute, it would have done so clearly. See
               Franklin v. Massachusetts, 505 U.S. 788 (1992). Moreover, and also discussed below, there
               are compelling reasons to conclude that Congress did not intend the major expansion of
               federal tort exposure that would arise if the FTCA applied to the president’s conduct.
       49

               The original definition of “employee of the Government” does not shed any additional light
               on this question. It reads:

               “‘Employee of the government’ includes officers or employees of any federal agency,
               members of the military or naval forces of the United States, and persons acting on behalf
               of a federal agency in an official capacity, temporarily or permanently in the service of the
               United States, whether with or without compensation.” Act of June 25, 1948, c. 646, 62
               Stat. 982.
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officer “of any federal agency” within the meaning of Section 2671. As noted above, Section

2671 states that the term “federal agency” “includes the executive departments, the judicial and

legislative branches, the military departments, independent establishments of the United States,

and corporations primarily acting as instrumentalities or agencies of the United States.” 50

               At the outset, it is apparent that this definition does not include the entire

executive branch. Although Congress referred to “the executive departments,” the fact that the

phrase is plural makes clear that Congress did not mean “the executive branch.” Congress knew

how to refer to an entire branch of government, as evidenced by the fact that the very next words

of the statute are “the judicial and legislative branches.”51 The plain meaning of this language is


       50

               The 1948 version of the statute, which since has been amended, stated:

                       “[T]he term- ‘Federal agency’ includes the executive departments and independent
                       establishment of the United States, and corporations primarily acting as,
                       instrumentalities or agencies of the United States but does not include any
                       contractor with the United States.” Id.

               The singular “independent establishment” appears to have been a typographical error. It
               was changed to “independent establishments” in the 1966 amendment. See Act of July 18,
               1966, Pub. L. 89-506, 80 Stat. 307.
       51

               The Supreme Court drew the same inference with regard to a related section of the same
               statute, the Act of June 25, 1948. See Sosa v. Alvarez-Machain, 542 U.S. 692, 712 n.9
               (2004) (“It is difficult to reconcile the Government’s . . . reading with the fact that two of
               the Act’s other exceptions specifically reference an ‘act or omission.’ See 28 U.S.C.
               § 2680(a). The Government’s request that we read that phrase into the [FTCA’s] foreign
               country exception, when it is clear that Congress knew how to specify ‘act or omission’
               when it wanted to, runs afoul of the usual rule that ‘when the legislature uses certain
               language in one part of the statute and different language in another, the court assumes
               different meanings were intended.’” (quoting 2A NORMAN J. SINGER, STATUTES AND
               STATUTORY CONSTRUCTION § 46:06, p. 194 (6th rev. ed. 2000))).

               Although the original statute did not refer to the judicial and legislative branches, this fact
               does not offer any reason to conclude that Congress’s use of “executive departments” in
               1948 was intended as a reference to the executive branch as a whole. The phrase “executive
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that members of Congress, federal judges, and the staffs of both all are included in the term

“federal agency.” But the entire executive branch is not. Only those parts of the executive

branch that fall within the other terms of the definition are included.

               Here, the arguably relevant parts of the “federal agency” definition are “the

executive departments” and “independent establishments.” The governing statutes do not define

either term. Although the government asserts that the president is covered by the Westfall Act,

its five page memorandum in support of its motion neither cites to Section 2671 nor argues that

either of the plausibly relevant terms applies to the president.52

               Of course, one of the best ways to understand what Congress meant by “federal

agency” is to examine how it used that term. The definition applies to Sections 1346(b) and

2401(b), to which it refers specifically, as well as the remaining sections of the Act of June 25,

1948, which are codified as amended at 28 U.S.C. §§ 2672-2680. Six of these eleven statutory

sections use the term “federal agency.” And four of them53 suggest strongly that the term applies

to what one ordinarily thinks of as a federal agency or executive department: a unit of

government housed within the executive branch, such as the Department of Defense, the

Department of State, or the Central Intelligence Agency,54 and not a single constitutional officer,


               departments” did not mean “executive branch” in 1948. And the fact that Congress added
               the phrase “judicial and legislative branches” immediately following “executive
               departments” demonstrates that it was aware of the difference and employed it intentionally.
               See id.
       52

               See Dkt. 3-1.
       53

               The other provisions, 28 U.S.C. §§ 2679 and 2680, shed no additional light on this issue.
       54

               Cf. Executive Agency, BRYAN A. GARNER, BLACK’S LAW DICTIONARY (11th ed. 2019) (“An
               executive-branch department whose activities are subject to statute and whose contracts are
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the president. The statutes likewise make clear in several ways that “federal agency” does not

refer to the executive branch as a whole or to any particular unit of the executive branch of

which the president is an “officer,” if any such unit existed.

               First, under 28 U.S.C. § 2672, “[t]he head of each Federal agency or his

designee” is permitted, pursuant to any regulations promulgated by the Attorney General, to

settle claims for money damages against the United States caused by “any employee of the

agency while acting within the scope of his office or employment” provided that any award “in

excess of $25,000 shall be effected only with the prior written approval of the Attorney General

or his designee.” In the original 1948 statute, the dollar amount was just $1,000.55 It is difficult

to imagine that Congress intended, without any explicit affirmative statement, to require the

president to seek the approval of the Attorney General, one of his subordinates, before settling,

on behalf of the federal government, claims against the United States. And to suggest that the

president could be an “officer” of a federal agency without being its head would contravene our

constitutional design, which vests in the president “the ‘executive power’ – all of it.”56 The far

more natural reading is that when Congress referred to “executive departments” and “federal




               subject to judicial review. One example is the National Aeronautics and Space Agency.”);
               see also, e.g., Department of Defense, id. (“An executive department of the federal
               government . . . .”); Department of State, id. (“The cabinet-level department of the federal
               government responsible for advising the President in formulating and executing foreign
               policy.”); Central Intelligence Agency, id. (“An independent federal agency that compiles
               intelligence information, conducts counterintelligence activities outside the United States,
               and advises the President and the National Security Council on matters of foreign
               intelligence and national security.”).
       55

               Act of June 25, 1948, c. 646, 62 Stat. 982.
       56

               Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2191 (2020).
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agencies,” it was referring to entities such as the Department of Defense and the Central

Intelligence Agency.

               Second, under 28 U.S.C. § 2673, Congress required that “[t]he head of each

federal agency shall report annually to Congress all claims paid by it under section 2672 of this

title, stating the name of each claimant, the amount claimed, the amount awarded, and a brief

description of the claim.” The government has presented no evidence that any president ever has

authorized a payment on an FTCA claim or supplied such a report to Congress on behalf of an

agency of which he is the head, if any such agency existed.

               Third, 28 U.S.C. § 2675(a) provides that a plaintiff who wishes to sue under the

FTCA “shall have first presented the claim to the appropriate Federal agency and his claim shall

have been finally denied by the agency in writing and sent by certified or registered mail.” This

would make little sense if it were applied to the president. Certainly, the government has not

suggested that an individual with a tort claim based on actions of the president first must present

that claim to the president and obtain the president’s final written denial before bringing suit

under the FTCA. Similar inferences may be drawn from 28 U.S.C. § 2401(b), which sets a

statute of limitations for presenting tort claims to an agency and filing them in court following

the agency’s determination.

               Because the president is at the apex of the executive branch, many think of him,

in a colloquial sense, as the “head” of many federal departments, agencies, and organizations.

At the very least, one might imagine that he leads some agency at the core of the executive

branch. The government has not attempted to identify any such agency in its papers, but the two

most obvious candidates are the Executive Office of the President (“EOP”) and the president’s

cabinet. But neither entity fits the bill. The head of the EOP, which is a network of agencies, is
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the president’s chief of staff.57    And even if one were to call the cabinet an “executive

department” or “independent establishment” – a dubious contention – the president himself is

not a member of the cabinet, although the vice president is. 58

               Indeed, the basic civics lessons on the White House’s website draw a clear

distinction between “the executive branch,” “the executive departments,” and “federal agencies.”

Its page on “The Executive Branch” states that the Constitution vests in the president “[t]he

power of the Executive Branch” and that “[f]ifteen executive departments – each led by an

appointed member of the President’s Cabinet – carry out the day-to-day administration of the

federal government.”59 It states also that the “executive departments” “are joined in this [effort]

by other executive agencies such as the [Central Intelligence Agency] and Environmental




       57

               THE EXECUTIVE BRANCH, WHITE HOUSE,
               https://www.whitehouse.gov/about-the-white-house/the-executive-branch/ (“The EOP,
               overseen by the White House Chief of Staff, has traditionally been home to many of the
               President’s closest advisers.”).
       58

               THE CABINET, WHITE HOUSE,
               https://www.whitehouse.gov/about-the-white-house/the-cabinet/ (“President Donald J.
               Trump’s Cabinet includes Vice President Mike Pence and the heads of the 15 executive
               departments – the Secretaries of Agriculture, Commerce, Defense, Education, Energy,
               Health and Human Services, Homeland Security, Housing and Urban Development,
               Interior, Labor, State, Transportation, Treasury, and Veterans Affairs, and the Attorney
               General. Additionally, the Cabinet includes the White House Chief of Staff and heads of
               the Environmental Protection Agency, Office of Management and Budget, United States
               Trade Representative, Central Intelligence Agency, Office of the Director of National
               Intelligence, and Small Business Administration.”).
       59

               THE EXECUTIVE BRANCH, WHITE HOUSE,
               https://www.whitehouse.gov/about-the-white-house/the-executive-branch/.
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                                                                                                       23

Protection Agency, the heads of which are not part of the Cabinet, but who are under full

authority of the President.”60

               The phrase “independent establishments” does not rescue the government’s

argument.    As Judge Sullivan once observed, “[a]lthough the Second Circuit has never

definitively interpreted what ‘independent establishment’ means, it has suggested that

independent establishments are defined by a ‘substantial governmental role in funding and

oversight.’”61 The opinion to which he referred is Johnson v. Smithsonian Institution,62 in which

the Second Circuit cited favorably a D.C. Circuit opinion stating with respect to the Smithsonian

Institution that “the nature of its function as a national museum and center of scholarship,

coupled with the substantial governmental role in funding and oversight, make the institution an

‘independent establishment of the United States,’ within the ‘federal agency’ definition.”63

               Although the FTCA does not define “independent establishments,” Congress

defined the term in 1966 when it enacted 5 U.S.C. § 104. That definition does not apply to the

FTCA, but it is instructive as to how Congress understood the relevant language. It states:

               “For the purpose of [Title 5], ‘independent establishment’ means—

                       “(1) an establishment in the executive branch (other than the United States
                       Postal Service or the Postal Regulatory Commission) which is not an


       60

               Id.
       61

               U.S. S.E.C. v. Syron, 934 F. Supp. 2d 609, 623 (S.D.N.Y. 2013) (quoting Johnson v.
               Smithsonian Inst., 189 F.3d 180, 189 (2d Cir. 1999)).
       62

               189 F.3d 180, 189 (2d Cir. 1999).
       63

               Id. (quoting Expeditions Unlimited Aquatic Enters., Inc. v. The Smithsonian Inst., 566 F.2d
               289, 296 (D.C. Cir. 1977) (panel opinion reprinted as appendix to opinion en banc)).
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                                                                                                      24

                       Executive department, military department, Government corporation, or
                       part thereof, or part of an independent establishment; and

                       “(2) the Government Accountability Office.”64

               The D.C. Circuit has held that this definition does not apply to “the Executive

Residence.”65 And DOJ’s Office of Legal Counsel – in two different presidential administrations

– took the position that the definition does not apply to the Executive Office of the President. 66

               The government has identified no component of the United States of which the

president is an officer or employee that satisfies these understandings of the phrase “independent

establishments.” Moreover, and as will be discussed, the idea that the chief executive of the

United States could be an officer or employee of an entity for which there is a “substantial

governmental role in funding and oversight” makes little sense.



       B. .    The Legislative History – The Westfall Decision and the Westfall Act

               There is still another strong reason supporting the view that president is not an

“employee of the Government” within the meaning of the Westfall Act. That reason is apparent

from the context in which the statute was enacted.




       64

               5 U.S.C. § 104.
       65

               See Haddon v. Walters, 43 F.3d 1488, 1489 (D.C. Cir. 1995).
       66

               See Mem. for Gregory B. Craig, Counsel to the President, from David J. Barron, Acting
               Assistant Attorney General, Office of Legal Counsel, Re: Application of 5 U.S.C. § 3110
               to Two Proposed Appointments by the President to Advisory Committees 15 & n.15 (Sept.
               17, 2009). On two earlier occasions, however, the Office of Legal Counsel took the
               opposite view. See id. at 15 n.14.
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               In 1982, the Supreme Court decided in Nixon v. Fitzgerald67 that the president “is

entitled to absolute immunity from damages liability predicated on his official acts.”68 So when

the Supreme Court decided Westfall just six years later and held that “federal officials are not

absolutely immune from state-law tort liability for all actions committed within the outer

perimeter of their duties,” it clearly was not referring to the president.69 When Westfall referred

generally to “federal officials,” it merely expanded the potential amenability to suit and liability

of that more limited group of individuals.

               Congress was well aware of this background when it passed the Westfall Act. As

the Supreme Court later wrote, “[w]hen Congress wrote the Westfall Act, which covers federal

employees generally . . . , the legislators had one purpose firmly in mind.”70 That purpose was

“to ‘return Federal employees to the status they held prior to the Westfall decision.’”71 There

was no need to extend the protections of the Westfall Act to the president, whom the Supreme

Court evidently recognized was not a “federal employee,” for the very good reason that the

president already had “absolute immunity from damages liability predicated on his official acts”


       67

               457 U.S. 731 (1982).
       68

               Id. at 749 (emphasis added).
       69

               Westfall, 484 U.S. at 299 (emphasis added).
       70

               Gutierrez, 515 U.S. at 425. Senator Grassley, the principal sponsor of the bill, explained
               that the purpose of the Westfall Act was to solve the “immediate crisis of personal liability
               exposure for the entire Federal Work force,” “particularly rank-and-file civil servants,”
               occasioned by the Westfall decision. 134 Cong. Rec. 14265 (June 13, 1988) (Sen.
               Grassley).
       71

               Id. (quoting H.R. REP. NO. 100-700, p. 4 (1988)).
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                                                                                                        26

by virtue of Nixon v. Fitzgerald.72

               Unless one ignores Nixon, it is impossible to read Westfall as applying to the

president. Given that the “one purpose” of the Westfall Act was to “return Federal employees to

the status they held prior to the Westfall decision,” Congress presumptively was aware that

neither Section 2671 nor the FTCA applied to the president. It therefore had no reason to extend

the Westfall Act to that office.



       C.      Franklin v. Massachusetts and Lack of Clear Statement to Include the President

               The foregoing discussion provides numerous grounds for concluding that the

president is not an “employee of the Government.” At best, the government might argue the

statute is silent on the issue and, on that basis, it should be read expansively to include the

president.

               The Court rejects the view that the statute is silent on the matter, an argument that

the government in any event has waived. But even granting the point for the sake of argument,

any statutory silence would not help the government. Instead, it would provide an additional

reason to conclude that the failure to mention the president should be understood as excluding

him from the scope of the Westfall Act and Section 2671.



       72

               Congress was well aware of this fact. See H.R. Rep. 100-700, 100th Cong., 2d Sess. 5 (June
               14, 1988) (“The United States is liable under the Federal Tort Claims Act. * * * ‘under
               circumstances where the United States, if a private person, would be liable * * *’ 28 U.S.C.
               1346(b). Thus ordinary tort defenses, such as contributory negligence, assumption of risk,
               estoppel, waiver, and res judicata, as applicable, continue to be available to the United
               States. The United States would also be able to continue to assert other functional
               immunities, such as Presidential and prosecutorial immunity, recognized in the constitution
               and judicial decisions. (emphasis added)).
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               Under the Administrative Procedure Act (“APA”), plaintiffs have a cause of

action to petition courts for review of “agency action.” In Franklin v. Massachusetts,73 the

Supreme Court considered whether “agency action” included the conduct of the president. It

held that “the President is not an agency within the meaning of the Act.”74

               Franklin does not resolve the question of whether the president is an employee of

a federal agency under Section 2671. But the following line of reasoning, portions of which are

not limited to the APA, is directly on point:

               “The APA defines ‘agency’ as ‘each authority of the Government of the United
               States, whether or not it is within or subject to review by another agency, but does
               not include – (A) the Congress; (B) the courts of the United States; (C) the
               governments of the territories or possessions of the United States; (D) the
               government of the District of Columbia.’ The President is not explicitly excluded
               from the APA’s purview, but he is not explicitly included, either. Out of respect
               for the separation of powers and the unique constitutional position of the
               President, we find that textual silence is not enough to subject the President to the
               provisions of the APA. We would require an express statement by Congress
               before assuming it intended the President’s performance of his statutory duties to
               be reviewed for abuse of discretion. Cf. Nixon v. Fitzgerald, 457 U.S. 731, 748,
               n.27 (1982) (Court would require an explicit statement by Congress before
               assuming Congress had created a damages action against the President). As the
               APA does not expressly allow review of the President’s actions, we must presume
               that his actions are not subject to its requirements.”75

               Franklin not only prohibits courts from presuming, absent “an express statement

by Congress,” that Congress “intended the President’s performance of his statutory duties to be

reviewed for abuse of discretion.” By relying on Nixon, it makes clear that the same reasoning

applies when a plaintiff sues the president for tort damages predicated on acts allegedly done in

       73

               505 U.S. 788 (1992).
       74

               Id. at 796.
       75

               Id. at 800-01 (emphasis added).
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                                                                                                           28

the scope of his employment – lawsuits that, by definition, challenge the president’s performance

of his job. The government is asking this Court to do precisely what Franklin forbids: to take a

statute that, at best from the government’s standpoint, is silent on the question of whether it

applies to the president – and in fact strongly appears to exclude him – and hold that Congress

intended to authorize lawsuits by private plaintiffs requiring federal courts to review his official

acts. This would run afoul of Franklin.

               One could attempt to distinguish Franklin on the ground that an FTCA claim is

pled against the United States, while the president himself was among the defendants in

Franklin. But Franklin itself defeats that argument. Franklin’s holding – like the APA itself –

is agnostic to the identity of the defendant. The relevant question is who committed the “agency

action.”76 In fact, the Supreme Court spent several pages emphasizing this point, because its

ultimate holding that the president’s actions were not reviewable shielded all the defendants

from suit, including the Secretary of Commerce and other lower-level officials.77


       76

               See, e.g., id. at 801 (“Although the President’s actions may still be reviewed for
               constitutionality, we hold that they are not reviewable for abuse of discretion under the
               APA.” (emphasis added)).
       77

               See id. at 796 (“The APA provides for judicial review of ‘final agency action for which
               there is no other adequate remedy in a court.’ 5 U.S.C. § 704. At issue in this case is
               whether the ‘final’ action that appellees have challenged is that of an ‘agency’ such that the
               federal courts may exercise their powers of review under the APA. We hold that the final
               action complained of is that of the President, and the President is not an agency within the
               meaning of the Act. Accordingly, there is no final agency action that may be reviewed
               under the APA standards.”); id. at 799 (“Because it is the President’s personal transmittal
               of the report to Congress that settles the apportionment, until he acts there is no determinate
               agency action to challenge. The President, not the Secretary, takes the final action that
               affects the States.”); id. at 800 (“As enacted, 2 U.S.C. § 2a provides that the Secretary
               cannot act alone; she must send her results to the President, who makes the calculations and
               sends the final apportionment to Congress. That the final act is that of the President is
               important to the integrity of the process and bolsters our conclusion that his duties are not
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               The same focus is present here. The function of an FTCA lawsuit is to decide

whether a government employee’s official conduct was tortious and, if so, to compensate one

injured by that conduct. When the employee is the president, his actions are the ones under

review. It does not matter whether his name appears in the caption of the case. Thus, as

Franklin’s reliance on Nixon makes plain, the lack of “an express statement by Congress”

indicating that the president’s actions are reviewable through FTCA lawsuits is decisive.

               One other point about Franklin deserves attention. The outcome of that case was

that the president’s conduct was not subject to review in an APA suit. Here the poles in some

sense are reversed. If the Court holds that the president’s conduct cannot be challenged in tort

suits under the FTCA, this case most likely will move forward, albeit against President Trump in

his individual or personal capacity. But that difference does not affect the result here.

               To begin, nothing in Franklin forbids courts from reviewing the president’s

official actions. The case provides instead a rule of statutory interpretation: that a court should

not assume, absent a clear statement, that Congress authorized such review in a federal statute.

Here, the plaintiff’s cause of action arises under state common law. Franklin says nothing about

such claims. And in fact, it is the government, rather than Ms. Carroll, that is arguing that a

federal statute (the FTCA) authorizes review of the president’s official actions, albeit in a case in

which it argues the United States should be substituted for the president.

               Why, then, would holding that the FTCA authorizes review of the president’s

official actions most likely secure the dismissal of this lawsuit? The reason is that the FTCA’s




               merely ceremonial or ministerial. Thus, we can only review the APA claims here if the
               President, not the Secretary of Commerce, is an “agency” within the meaning of the Act.”).
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waiver of sovereign immunity contains an exception for libel and slander claims.78 For that

reason, and that reason alone, permitting FTCA lawsuits challenging the president’s job

performance would close the door on this particular lawsuit.

                But what would happen in cases involving the many types of torts for which the

United States has waived its sovereign immunity – cases in which no FTCA exception applies?

The answer, if the Court agrees with the government, is that those lawsuits could move forward

– the precise problem that Franklin sought to avoid. In essence, the government is arguing that,

so long as none of the exceptions applies, the FTCA authorizes plaintiffs to sue the United States

for money damages when the president, acting within the scope of his employment, engages in

an “act or omission” that allegedly is negligent or wrongful under state law and causes them

injury.

                The President of the United States wields the entire executive power of the

federal government. Each day, he or she makes decisions that affect the lives of hundreds of

millions of Americans in countless ways. It is difficult to fathom that Congress – without any

textual indication, and with considerable evidence to the contrary – intended for the FTCA to

authorize tort lawsuits that bring the president’s official conduct into question.79 “Congress . . .

          78

                28 U.S.C. § 2680(h) (exempting from the FTCA claims arising out of, among other things,
                libel and slander).
          79

                One might surmise that Nixon would prevent such an expansion of federal tort exposure.
                It would not. Nixon holds that the president is absolutely immune from suit with respect
                to official conduct. The defendant in an FTCA suit is the United States. Moreover,
                Congress could not have relied on this backstop when it passed the FTCA. The FTCA and
                its procedural provisions were enacted in the 1940s. Nixon was decided in 1982.

                Nor is it sufficient to say that other legal doctrines such as the need for proximate causation
                might protect the government against liability in such cases. Even if the government
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                                                                                                       31

does not alter the fundamental details of a regulatory scheme in vague terms or ancillary

provisions – it does not, one might say, hide elephants in mouseholes.”80



       D.      Decisions of Other Courts

               The government relies on several cases in other circuits for the proposition that

“elected officials” in general are government employees under the Westfall Act. None of those

cases so held. And none supports the argument that the statute applies to the president.

               Council on American Islamic Relations v. Ballenger,81 a D.C. Circuit case

discussed in more detail below on another issue, held that certain statements of a Member of

Congress – not the president – had been made within the scope of his employment. But the

parties did not brief the question whether a Member of Congress (or any elected official) is an

“employee of the Government,” and the D.C. Circuit did not even mention the issue.82 Wuterich

v. Murtha,83 another D.C. Circuit decision concerning a Member of Congress that relied on

Ballenger, similarly did not acknowledge the existence of the issue.




               sometimes would prevail on these arguments, the cases would need to be defended at least
               to a certain point, and the president’s conduct would be reviewed in the same manner as any
               other federal employee’s.
       80

               Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).
       81

               444 F.3d 659 (D.C. Cir. 2006).
       82

               See Brief of Appellant, Council on Am. Islamic Relations v. Ballenger, No. 05-5161 (D.C.
               Cir. Dec. 22, 2005); Brief for Appellee, id. (D.C. Cir. Feb. 3, 2006); Reply Brief of
               Appellant, id. (D.C. Cir. Feb. 16, 2006).
       83

               562 F.3d 375 (D.C. Cir. 2009).
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                                                                                                       32

               The Sixth Circuit held recently in Does 1-10 v. Haaland84 that Members of

Congress are “employees of the Government” under the Westfall Act. But its conclusion turned

on the fact that Section 2671 defines “federal agency” to include “the judicial and legislative

branches” and thereby “expands sovereign immunity to the entire legislative branch.”85 As

discussed above, Section 2671’s definition of “federal agency” does not use the phrase

“executive branch.” It refers to “the executive departments, [and] the judicial and legislative

branches.”86

               Like Does 1-10, two older decisions from the First and Fifth Circuits held that

Members of Congress are employees under the Westfall Act. Neither contains significant

reasoning, and the few points they raise are particular to Congress.87               The government’s

remaining cases neither raise nor resolve the issue. 88


       84

               No. 19-6347, 2020 WL 5242402 (6th Cir. Sept. 3, 2020).
       85

               Id. at *4.
       86

               The Sixth Circuit relied also on the fact that the Supreme Court once held “that a
               Representative is ‘an officer acting under the authority of the United States’ for purposes
               of a criminal statute that punishes individuals who ‘falsely assume or pretend to be an
               officer or employee acting under the authority of the United States.’” Id. at *4 (quoting
               Lamar v. United States, 241 U.S. 103, 111-12 (1916)). This holding has no relevancy when
               the alleged federal employee is the president.
       87

               See Williams v. United States, 71 F.3d 502, 505 (5th Cir. 1995) (noting that “in 1988,
               Congress extended coverage under the FTCA to officers and employees of the legislative
               and judicial branches”); Operation Rescue Nat. v. United States, 147 F.3d 68, 71 (1st Cir.
               1998) (concluding that because no Members of Congress spoke up about their possible
               exclusion from the Westfall Act when they debated the statute, the Members presumably
               understood the statute to include them, and that holding otherwise would be irrational).
       88

               See, e.g., Saleh v. Bush, 848 F.3d 880, 891 (9th Cir. 2017).
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                                                                                              33

                                              ***

               The president is not an “employee of the Government” under the Westfall Act.

The text of the Act of June 25, 1948 offers numerous strong indications that Congress did not

intend for this term to apply to him. Congress clearly held that view when it passed the Westfall

Act in 1988. And the Franklin decision forbids the Court from reading the president into the

FTCA without a clear statement from Congress. Moreover, holding that the president is an

“employee of the Government” within the meaning of the Act could ignite a significant

expansion of federal tort exposure – without any evidence of a congressional intent to do so – by

authorizing lawsuits that could involve review of the president’s job performance.

               As the president is not an “employee of the Government” within the meaning of

the Westfall Act, the Attorney General’s certification was erroneous.



II.    Scope of Employment

               The holding that the president of the United States is not an “employee of the

Government,” as Congress defined that term, is sufficient to resolve the government’s motion.

But the parties have briefed also the question of whether, if the president is a government

employee, President Trump’s allegedly defamatory statements were made within the scope of his

employment. And it is appropriate to address that issue as well in order to avoid the possibility

of an unnecessary remand should a higher court disagree on the “employee” question.



       A.      Choice of Law

               Under Second Circuit law, the question of whether government employees are

acting within the scope of their employment for the purposes of the FTCA is resolved “in
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                                                                                                             34

accordance with the respondeat superior law of the jurisdiction where the tort occurred.”89 The

origin of this rule and its precise meaning are complicated issues that will be discussed

momentarily. For present purposes, it suffices to note that the rule is derived from a provision of

the FTCA stating that the government’s ultimate liability turns on “the law of the place where

the act or omission occurred.”90

                  The parties disagree over which jurisdiction’s law applies to the scope of

employment issue.          The government argues that because President Trump’s allegedly

defamatory statements were made in the District of Columbia, the Court should apply D.C. law.

Ms. Carroll, though not disputing that the statements were made in Washington, D.C., argues

that the tort occurred where she was injured, which was New York. Both parties, however,

assert that the outcome would be the same under the respondeat superior doctrine of either

jurisdiction.91

                  As to the question of where the tort occurred for FTCA purposes, the Court

agrees with the government. The governing case law refers to the place of the tort, not the place

        89

                  See, e.g., Fountain v. Karim, 838 F.3d 129, 135 (2d Cir. 2016); Hamm v. United States,
                  483 F.3d 135, 138 (2d Cir. 2007).

                  Respondeat superior is a Latin phrase meaning “let the superior make answer.” The
                  substance of the doctrine is that an employer is liable for any injuries wrongly inflicted by
                  its employee within the scope of the employment. See Respondeat Superior, BRYAN A.
                  GARNER, BLACK’S LAW DICTIONARY (11th ed. 2019). The doctrine applies also to principal
                  and agent and to master and servant.
        90

                  See Fountain, 838 F.3d at 135 (quoting 28 U.S.C. § 1346(b)(1)).
        91

                  See Dkt. 16 at 31 n.18 (plaintiff arguing that “[a]lthough New York laws governs and
                  supplies a more restrictive rule of respondeat superior liability than does D.C., the ultimate
                  outcome would be the same under D.C. law”); Dkt. 21 at 13 (government arguing that
                  “[t]he outcome under New York law would be no different”)
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                                                                                                         35

of injury. And the FTCA’s reference to the “act or omission” makes the conclusion absolutely

clear.

                 But the apparently simple question of which law applies is more nuanced than

the parties acknowledge. The complication turns on whether the Court must apply the D.C.

respondeat superior doctrine or whether it instead must apply D.C.’s choice of law rules to

determine which jurisdiction’s respondeat superior doctrine applies.

                At first blush, the FTCA appears to require the choice of law path. The statute

predicates the government’s liability on “circumstances where the United States, if a private

person, would be liable to the claimant in accordance with the law of the place where the act or

omission occurred.”92 This language seems to suggest that a federal court hearing an FTCA

claim should apply the same law as would a local court in the relevant jurisdiction. In Richards

v. United States,93 the Supreme Court took that view by holding that the FTCA “requires

application of the whole law of the [jurisdiction] where the act or omission occurred,” which

includes that jurisdiction’s choice of law rules. 94

                The issue in Richards was which jurisdiction’s law applied to the question of

liability – not whose respondeat superior doctrine applied.               But nothing in the opinion

distinguished between those questions or suggests that they might require a different type of



         92

                28 U.S.C. § 1346(b)(1).
         93

                369 U.S. 1 (1962).
         94

                Id. at 11; see also Winston v. United States, 305 F.2d 253, 272 n.20 (2d Cir. 1962) (reading
                Richards as interpreting the FTCA “language to mean the ‘whole law’ of that place,
                including its conflict of law rules”).
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                                                                                               36

analysis. And the FTCA provides no textual basis for distinguishing between them. It would be

odd to read the statute to require that courts apply the respondeat superior doctrine of the place

where the act or omission occurred, but they must begin with that jurisdiction’s choice of law

rules when determining the law applicable to liability.      Moreover, treating the respondeat

superior issue differently may violate Richards. A scope of employment finding is a necessary

component of liability in a suit against an employer.

               However, a separate line of cases suggests that federal courts may have developed

different rules for liability and scope of employment, seemingly without considering the possible

inconsistency. In Williams v. United States,95 decided seven years before Richards, the Supreme

Court reviewed a Ninth Circuit decision that applied federal law to the scope of employment

question. In a two sentence per curiam opinion, the Supreme Court vacated and remanded on

the ground that “[t]his case is controlled by the California doctrine of respondent superior.”96

The Court did not set forth its reasoning.

               There are two plausible explanations for that result.     One is that the Court,

consistent with the reading it later gave in Richards, looked to the whole law of California, the

place where the act or omission occurred, and found that California’s choice of law rules

required application California respondeat superior doctrine. The other is that California’s

respondeat superior doctrine applied by virtue of the FTCA itself – i.e., California was where

the act or omission occurred.




       95

               350 U.S. 857 (1955) (per curiam).
       96

               Id.
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              All twelve of the geographic courts of appeals have said specifically that the

FTCA requires courts to apply “the respondeat superior law” of the jurisdiction where the act or

omission occurred.97 But all twelve of those courts have stated also that courts must apply ”the

law” of the relevant jurisdiction without indicating whether they are referring to (a) that

jurisdiction’s “whole law,” which includes its choice of law rules, or (b) the jurisdiction’s




       97

              See, e.g., Nasuti v. Scannell, 906 F.2d 802, 806 n.1 (1st Cir. 1990) (“The issue of whether
              an employee is acting within the scope of his employment for purposes of the FTCA is
              governed by the law of respondeat superior of the state in which the negligent or wrongful
              conduct occurred.”); Fountain, 838 F.3d at 135 (“We interpret the FTCA’s ‘scope of
              employment’ requirement in accordance with the respondeat superior law of the jurisdiction
              where the tort occurred.”); McSwain v. United States, 422 F.2d 1086, 1088 (3d Cir. 1970)
              (“Such liability for the acts or omissions of a civilian or military federal employee is
              determined by the law of respondeat superior of the state in which the act or omission
              occurred.”); Ross v. Bryan, 309 F.3d 830, 834 (4th Cir. 2002) (“To determine whether
              Bryan’s acts were within the scope of his employment, we must apply Virginia respondeat
              superior law.”); Garza v. United States, 809 F.2d 1170, 1171 (5th Cir. 1987) (“Whether
              military personnel are acting within the line of duty is determined by applicable state rules
              of respondeat superior.”); United States v. Taylor, 236 F.2d 649, 653 (6th Cir. 1956) (“[T]he
              standard of governmental liability under the Federal Tort Claims Act is with respect to both
              military and civilian employees that imposed by the respondeat superior doctrine of the
              state.”); Duffy v. United States, 966 F.2d 307, 314 (7th Cir. 1992) (“[W]e have followed the
              Court’s ruling in Williams and looked to state law of respondeat superior to determine
              whether a person was acting “in the line of duty.”); United States v. Farmer, 400 F.2d 107,
              109 (8th Cir. 1968) (“[T]he question of whether a Government employee is acting within
              the scope of his office or employment must be determined by the respondeat superior rule
              of the state where the negligent act occurred.”); United States v. McRoberts, 409 F.2d 195,
              197 (9th Cir. 1969) (“In resolving the sole issue before us, we must apply the respondeat
              superior principles of California, the state wherein the alleged tort was
              committed.”); Nichols v. United States, 796 F.2d 361, 365 n.4 (10th Cir. 1986) (“Whether
              he was ‘acting within the scope of his office or employment’ at the time his act caused
              injury to Nichols is determined by reference to the respondeat superior law of the state in
              which the accident occurred.”); Bennett v. United States, 102 F.3d 486, 489 (11th Cir. 1996)
              (“‘Line of duty,’ in turn, draws its meaning from the applicable state law of respondeat
              superior.”); Nelson v. United States, 838 F.2d 1280, 1282 (D.C. Cir. 1988) (“‘Line of duty,’
              in turn, takes its meaning from the applicable state law of respondeat superior.”).
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respondeat superior doctrine without regard to its choice of law rules.98 It is not crystal clear

which of these approaches is the law, although that fact that most of the decisions in both groups

cite Williams and none conducts a choice of law analysis strongly suggests that the former view

controls. Nevertheless, this Court need not and does not resolve this issue.

               Although the respondeat superior doctrines of New York and the District of

Columbia are not identical, they dictate the same outcome on these facts, largely for the same

reasons. As will appear, respondeat superior liability does not apply under the law of either


       98

               See, e.g., Borrego v. United States, 790 F.2d 5, 6 (1st Cir. 1986) (“Whether or not a
               particular act is within the scope of employment is a matter to be determined in accordance
               with the law of the place in which the alleged negligent act or omission
               occurred.”); Mandelbaum v. United States, 251 F.2d 748, 750 (2d Cir. 1958) (“Under [the
               FTCA] the law applicable to this case is that of New York [where the act or omission
               occurred]. And subsequent to the decision below the Supreme Court [in Williams] has
               made it absolutely clear that . . . the state law controls.”); Matsko v. United States, 372 F.3d
               556, 559 (3d Cir. 2004) (“We assess whether Kotor was acting within the scope of his
               employment under the law of Pennsylvania, because that is where the incident
               occurred.”); Gutierrez de Martinez v. Drug Enf’t Admin., 111 F.3d 1148, 1156 (4th Cir.
               1997) (“In answering [the scope of employment] question, we apply the law of the state
               where the conduct occurred.”); Bodin v. Vagshenian, 462 F.3d 481, 484 (5th Cir. 2006)
               (“The issue of whether an employee is acting within the scope of his employment for
               purposes of the FTCA is governed by the law of the state in which the wrongful act
               occurred.”); Arbour v. Jenkins, 903 F.2d 416, 421-22 (6th Cir. 1990) (“Whether an
               employee’s actions are within the scope of his employment for purposes of the Westfall Act
               is an issue that must be determined in accordance with the law of the state where the
               incident occurred.”); Guthrie v. United States, 392 F.2d 858, 859 (7th Cir. 1968) (holding,
               because the act or omission occurred in Wisconsin, that “[t]he state law of Wisconsin is
               decisive on this issue”); Brown v. Armstrong, 949 F.2d 1007, 1012 n.7 (8th Cir. 1991)
               (“Under the FTCA, the law of the place of the alleged tort governs the scope-of-
               employment question.”); Xue Lu v. Powell, 621 F.3d 944, 948 (9th Cir. 2010) (“This phrase
               must be applied according to the law of the state where the alleged tort occurred.”); United
               States v. Hainline, 315 F.2d 153, 155 (10th Cir. 1963) (“In actions brought under the Act,
               the scope of employment is determined by the state law.”); Green v. Hill, 954 F.2d 694, 698
               (11th Cir. 1992) (“The issue of whether an employee acted within the scope of his
               employment is determined by the law of the state where the alleged tort occurred.”); United
               States v. Baker, 265 F.2d 123, 123 (D.C. Cir. 1959) (noting that “the law of Virginia, where
               the accident occurred, would control the question of ‘scope of employment’”).
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jurisdiction unless the employer exercises, or has the ability to exercise, control over the

employee’s relevant actions.99 Because the control factor is dispositive and would reach an

identical result under either D.C. or New York law, there is no true conflict between D.C. and

New York law for the purpose of D.C.’s governmental interest analysis. In fact, and as noted at

the outset, both parties assert that the outcome would be the same under New York and D.C.

law. “Since there is ‘no real conflict’ . . . it is unnecessary for [the Court] to engage in the

choice-of-law exercise . . . .”100



        B.      Scope of Employment Under D.C. Law

                “‘Respondeat superior is a doctrine of vicarious liability’ that imposes liability on

employers for tortious and negligent ‘acts of [their] employees committed within the scope of

their employment.’”101 “Generally, ‘whether an employee is acting within the scope of his




        99

                Compare Fountain, 838 F.3d at 135 (“Under New York law, an employee acts within the
                scope of his employment when (1) ‘the employer is, or could be, exercising some control,
                directly or indirectly, over the employee’s activities,’ and (2) ‘the employee is doing
                something in furtherance of the duties he owes to his employer.’” (brackets omitted)
                (quoting Hamm v. United States, 483 F.3d 135, 138 (2d Cir. 2007) (quoting Lundberg v.
                State, 25 N.Y.2d 467, 471 (1969))), with Tolu v. Ayodeji, 945 A.2d 596, 602 (D.C. 2008)
                (“The decisive test is whether the employer has the right to control and direct the servant
                in the performance of his work and the manner in which the work is to be done.” (ellipsis
                omitted) (quoting Safeway Stores v. Kelly, 448 A.2d 856, 860 (D.C. 1982)).
        100

                Barimany v. Urban Pace LLC, 73 A.3d 964, 968 (D.C. 2013) (quoting Taylor v. Canady,
                536 A.2d 93, 96 (D.C. 1988)).
        101

                Blair v. D.C., 190 A.3d 212, 225 (D.C. 2018) (quoting Schecter v. Merchants Home
                Delivery, Inc., 892 A.2d 415, 427 (D.C. 2006)).
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employment is a question of fact for the jury.’”102 However, the issue becomes a question of law

“if there is not sufficient evidence from which a reasonable juror could conclude that the action

was within the scope of the employment.”103

              As to the legal question, the D.C. Court of Appeals has adopted Section 228 of

the Restatement (Second) of Agency.104 In that court’s words, D.C. law holds that “[i]n order to

succeed under a respondeat superior theory of liability, [a party] must show [1] that a

master-servant relationship existed between [the employer] and [its] workers or contractors, and



       102

              Id. (quoting Brown v. Argenbright Sec., Inc., 782 A.2d 752, 757 (D.C. 2001)).
       103

              Id. at 226 (quoting Brown, 782 A.2d at 757).

              Whether the provision about sending this issue to a jury applies here is unclear. The reason
              for the lack of clarity is that the scope of employment issue arises as a threshold question
              about the Westfall Act’s applicability, rather than as an element of the plaintiff’s cause of
              action that might be resolved at trial. For reasons explained below, however, the Court
              holds that the matter is decided appropriately as a question of law in this case.
       104

              See, e.g., District of Columbia v. Bamidele, 103 A.3d 516, 525 n.6 (D.C. 2014); Moseley
              v. Second New St. Paul Baptist Church, 534 A.2d 346, 348 n.4 (D.C. 1987); Wuterich, 562
              F.3d at 383. The full provision reads:

                      “(1) Conduct of a servant is within the scope of employment if, but only if:

                              (a) it is of the kind he is employed to perform;

                              (b) it occurs substantially within the authorized time and space limits;

                              (c) it is actuated, at least in part, by a purpose to serve the master, and

                              (d) if force is intentionally used by the servant against another, the use of
                              force is not unexpectable by the master.

                      “(2) Conduct of a servant is not within the scope of employment if it is different in
                      kind from that authorized, far beyond the authorized time or space limits, or too
                      little actuated by a purpose to serve the master.”
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[2] that the incident at issue occurred while the workers or contractors were acting within the

scope of their employment.”105 The Court begins with the master-servant issue.



              1.      Master-Servant Relationship

              “The terms ‘master’ and ‘servant’ are defined as follows:

                      “(1) A master is a principal who employs an agent to perform service in
                      his affairs and who controls or has the right to control the physical
                      conduct of the other in the performance of the service.

                      “(2) A servant is an agent employed by a master to perform service in his
                      affairs whose physical conduct in the performance of the service is
                      controlled or is subject to the right to control by the master.”106

              “The decisive test [for the existence of a master-servant relationship] is whether

the employer has the right to control and direct the servant in the performance of his work and

the manner in which the work is to be done.”107 “[T]here is no liability for the conduct of one

who, although a servant in performing other service, is doing work as to which there is no


       105

              Tolu, 945 A.2d at 601-02 (brackets omitted) (quoting Giles v. Shell Oil Corp., 487 A.2d
              610, 611 (D.C. 1985)); see Moorehead v. D.C., 747 A.2d 138, 142 (D.C. 2000) (same).
       106

              Safeway, 448 A.2d at 856 n.6 (quoting RESTATEMENT (SECOND) OF AGENCY § 2) (emphasis
              added).
       107

              Tolu, 945 A.2d at 602 (ellipsis omitted) (quoting Safeway, 448 A.2d at 860); cf.
              RESTATEMENT (SECOND) OF AGENCY § 228 cmt. (c) (noting that “one is a servant only if,
              as to his physical conduct in the performance of the service, he is subject to the control or
              to the right to control of the master”); id. § 220(1) (similar). The Supreme Court has made
              the same observation about the “control” element’s centrality to one’s status as a servant.
              See Clackamas Gastroenterology Assocs., P. C. v. Wells, 538 U.S. 440, 448 (2003) (“At
              common law the relevant factors defining the master-servant relationship focus on the
              master’s control over the servant. The general definition of the term ‘servant’ in the
              Restatement (Second) of Agency § 2(2) (1957), for example, refers to a person whose work
              is “controlled or is subject to the right to control by the master.”).
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control or right to control by the master.”108 D.C. courts consider five factors in determining

whether a master-servant relationship exists: “(1) the selection and engagement of the servant,

(2) the payment of wages, (3) the power to discharge, (4) the power to control the servant’s

conduct, (5) and whether the work is part of the regular business of the employer.”109

               “The President of the United States possesses an extraordinary power to speak to

his fellow citizens . . . .”110 While he is a “public servant,” holding that he is a “servant” whom a

“master” “has the right to control and direct” when he speaks to reporters, or otherwise, would

be absurd.

               First, except for the payment of a salary, not one of the five factors relied upon by

D.C. courts to determine whether a master-servant relationship exists is satisfied here. The

president is selected by the electoral college, not the executive branch or any part of it. The

government does not have the power to discharge him in any circumstances, unless one

construes impeachment, or removal under the Twenty-Fifth Amendment, as forms of discharge.

And while commenting on the operation of government is part of the regular business of the

United States, commenting on sexual assault allegations unrelated to the operation of

government is not.111


       108

               RESTATEMENT (SECOND) OF AGENCY § 228 cmt. (c).
       109

               See, e.g., Anthony v. Okie Dokie, Inc., 976 A.2d 901, 906 (D.C. 2009) (quoting Safeway,
               448 A.2d at 860); Bostic v. D.C., 906 A.2d 327, 331 (D.C. 2006) (same) (quoting Giles, 487
               A.2d at 611).
       110

               Trump v. Hawaii, 138 S. Ct. 2392, 2417-18 (2018).
       111

               Although the government waived this argument, one could contend that the president cannot
               meaningfully perform his job without responding to public sexual assault allegations.
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                                                                                                      43

               The “decisive” factor, however, is the fourth and most important: control. The

president is the chief executive of the United States government. No one, inside or outside of the

executive branch, has “the power to control the [president’s] conduct.”

               That conclusion is found in the first sentence of the president’s job description.

Under Article II of the Constitution, “[t]he executive Power shall be vested in a President of the

United States of America.”112 As Justice Scalia explained in his famous dissent in Morrison v.

Olson,113 “this does not mean some of the executive power, but all of the executive power.”114

“The entire ‘executive Power’ belongs to the President alone.” 115

               Not only does the president’s sole possession of the executive power place him

atop the chain of command of the executive branch. “Article II confers on the President ‘the

general administrative control of those executing the laws.’”116          “The buck stops with the

President, in Harry Truman’s famous phrase.”117




               Because this argument is better characterized as a question of whether the president acted
               within the scope of his employment, rather than a question of whether he is a “servant”
               under the “control” of a “master,” the Court addresses this theory below.
       112

               U.S. Const. Art. II, § 1, cl. 1.
       113

               487 U.S. 654 (1988).
       114

               Id. at 705.
       115

               Seila, 140 S. Ct. at 2197.
       116

               Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 492 (2010)
               (emphasis added).
       117

               Id.
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                                                                                                        44

               To hold that someone else exercises control over the president would turn the

Constitution on its head. And it would subvert the requirement that the president “shall take

Care that the Laws be faithfully executed.”118 As explained recently by the Supreme Court:

               “The . . . constitutional strategy is straightforward: divide power everywhere
               except for the Presidency, and render the President directly accountable to the
               people through regular elections. In that scheme, individual executive officials
               will still wield significant authority, but that authority remains subject to the
               ongoing supervision and control of the elected President. Through the
               President’s oversight, ‘the chain of dependence [is] preserved,’ so that ‘the lowest
               officers, the middle grade, and the highest’ all ‘depend, as they ought, on the
               President, and the President on the community.’”119

Interpreting this authority, Justices Thomas and Kavanaugh have opined that components of the

executive branch “that wield substantial power with no accountability to either the President or

the people . . . ‘pose a significant threat to individual liberty and to the constitutional system of

separation of powers and checks and balances.’”120

               As noted above, “there is no liability for the conduct of one who . . . is doing

work as to which there is no control or right to control by the master.”121 Such control is absent


       118

               U.S. Const. Art. II, § 3.
       119

               Seila, 140 S. Ct. at 2203 (quoting 1 Annals of Cong. 499 (J. Madison)); see also, e.g., Free
               Enter. Fund, 561 U.S. at 514 (“Without [the] power [to remove and control subordinates],
               the President could not be held fully accountable for discharging his own responsibilities;
               the buck would stop somewhere else.” (quoting The Federalist No. 72, p. 487 (J. Cooke ed.
               1961) (A. Hamilton)); id. at 492 (“As Madison stated on the floor of the First Congress, ‘if
               any power whatsoever is in its nature Executive, it is the power of appointing, overseeing,
               and controlling those who execute the laws.’” (emphasis added) (quoting 1 Annals of Cong.
               463 (J. Madison))).
       120

               Seila, 140 S. Ct. at 2212 (Thomas, J., concurring in part) (quoting PHH Corp. v. CFPB, 881
               F.3d 75, 165 (D.C. Cir. 2018) (Kavanaugh, J., dissenting)).
       121

               RESTATEMENT (SECOND) OF AGENCY § 228 cmt. (c).
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                                                                                                         45

whenever the president discharges his duties. And it is non-existent when the president exercises

his “extraordinary power to speak to his fellow citizens”122 by addressing the press. No one

gives him permission to speak. No one can require him to say, or not to say, anything at all. No

one has the authority to cut him off. And the statements he makes, as well as the topics he

discusses, are entirely of his own choosing.

               These points are clearer still on the facts of this case. No one even arguably

directed or controlled President Trump when he commented on the plaintiff’s accusation, which

had nothing to do with the official business of government, that he raped her decades before he

took office. And no one had the ability to control him.

               President Trump is not a “servant” controlled by a “master” within the meaning

of the District of Columbia’s scope of employment doctrine. Thus, his allegedly defamatory

statements were not “actuated, at least in part, by a purpose to further the master’s business.”123

He was not acting within the scope of his employment when he made them, and the Attorney

General’s certification under the Westfall Act was erroneous.124



               2.      Scope of Employment Test

               The president is no one’s servant. But assume, for the sake of argument, that he

were an employee of the United States whose master were something vaguely described as “the

       122

               Trump, 138 S. Ct. at 2417.
       123

               Blair, 190 A.3d at 225.
       124

               Because the Court concludes as a matter of law that President Trump is not a servant, it
               concludes also that no reasonable jury could find that his actions were done within the scope
               of his employment.
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                                                                                                         46

public,” which “controlled” him indirectly through its role in choosing the electoral college

members125 or in electing the Members of Congress who can impeach and remove him. Even

then, the Court would hold that President Trump was not acting within the scope of his

employment when he made the allegedly defamatory statements.

               Under D.C. law, “[t]o be within the scope of employment, the tortious activity

‘must be actuated, at least in part, by a purpose to further the master’s business,’ and this ‘intent

or purpose excludes from the scope of employment all actions committed solely for the servant’s

own purposes.’”126 The “at least in part” language demonstrates that the action need not “be

wholly in furtherance of the employer’s business.”127 That said, a slight purpose to serve the

master is not enough. “‘Conduct of a servant [that] is . . . too little actuated by a purpose to serve

the master’ is not within the scope of employment.”128             Finally, “the employee’s ‘tortious

conduct must be foreseeable to the employer, meaning that it is a direct outgrowth of the

employee’s instructions or job assignments.’”129

       125

               This view is impossible to reconcile with the “control” element of D.C. law. “The public”
               is not an employer, and it does not have the authority to control the president’s performance
               of his job when he makes statements to reporters or otherwise. Nor, because of the electoral
               college system, is the president directly elected by the public. And while our system of
               checks and balances gives Congress (and the judiciary) certain powers that the president
               lacks, no branch of government “controls” another in anything resembling the same manner
               that an employer controls an employee.
       126

               Blair, 190 A.3d at 226 (quoting Bamidele, 103 A.3d at 525).
       127

               Id.
       128

               See, e.g., Bamidele, 103 A.3d at 525 (quoting RESTATEMENT (SECOND) OF AGENCY
               § 228(2)); Brown, 782 A.2d at 758 (same).
       129

               Blair, 190 A.3d at 226 (alteration omitted) (quoting Bamidele, 103 A.3d at 525).
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                                                                                                         47

                 At its core, the government’s argument is that speaking to reporters is part of the

president’s job. Thus, it argues, whenever the president speaks to reporters – no matter the topic

– he is acting within the scope of his employment. For this proposed rule, the government relies

on the D.C. Circuit’s Ballenger decision. A discussion of Ballenger will be helpful to explaining

why the Court is not persuaded.

                 The defendant in Ballenger was Rep. Cass Ballenger, a Member of Congress.

Ballenger’s chief of staff gave an interview to a reporter who asked a question about Ballenger’s

recent separation from his wife.130 Ballenger later called the reporter “from his congressional

office during regular business hours” and stated, among other things, that the separation was

amicable and that his wife was uncomfortable living across the street from the plaintiff, an

Islamic institution.131 The journalist reported this comment, and the plaintiff sued Ballenger for

defamation.132

                 Shortly after the lawsuit was filed, the Department of Justice certified that

Ballenger “acted within the scope of his employment as an employee of the United States when

he made the allegedly defamatory statement.”133 The district court agreed and dismissed the case

under the FTCA’s exemption for libel and slander claims.134

       130

                 Ballenger, 444 F.3d at 661.
       131

                 Id. at 662.
       132

                 Id. at 663.
       133

                 Id.
       134

                 Islamic Council on Am. Islamic Relations, Inc. v. Ballenger, 366 F. Supp. 2d 28, 30 (D.D.C.
                 2005).
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                                                                                                     48

               The D.C. Circuit affirmed. Like the district court, it did not acknowledge the

question of whether a Member of Congress is an “employee of the Government” pursuant to the

Westfall Act or a “servant” under a master’s control. But it nonetheless found that Ballenger

acted within the scope of his employment when he made the comment at issue.

               The D.C. Circuit began by rejecting the plaintiff’s argument “that Ballenger’s

allegedly defamatory statement itself was not conduct of the kind he is employed to perform.”135

Instead, it reasoned that D.C. law and the Westfall Act “direct[] courts to look beyond alleged

intentional torts themselves.”136 Finding that the “‘underlying dispute or controversy’ was the

phone call between Ballenger and [the reporter] discussing the marital separation,” it held that

“[s]peaking to the press during regular work hours in response to a reporter’s inquiry falls within

the scope of a congressman’s ‘authorized duties.’”137 The court did not explain its use of the

word “authorized” nor offer any theory as to who if anyone authorizes a Member of Congress to

speak to reporters, much less to discuss his marital status with them. Nor, when it reached the

question of whether speaking to reporters is conduct “actuated, even in part, to serve the

master,” did the court offer any theory as to who is the “master” of a Member of Congress or

who controls a Member’s discussions with the press.138 The D.C. Circuit appears to have




       135

               Ballenger, 444 F.3d at 664.
       136

               Id.
       137

               Id.
       138

               Id. at 665. Although the court quoted this standard several times, its analysis failed to
               engage with it.
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overlooked these requirements by focusing only on whether the “conduct was motivated – at

least in part – by a legitimate desire to discharge his duty as a congressman.”139

               Even on the issues it addressed, Ballenger’s reasoning is wanting. Its explanation

for why a Member of Congress acts within the scope of his employment is presented in the

following paragraph:

               “[The plaintiff] resists this conclusion on two grounds. First, it insists that
               Ballenger’s statement was purely private, unrelated to any matter of public
               concern. The circumstances of the conversation belie this suggestion. The
               Charlotte Observer and at least some subset of Ballenger’s constituents were
               interested in the separation. Given this level of public interest, we find CAIR’s
               absolutist view at odds with reality. Moreover, it is telling that [the reporter] felt
               at liberty to ask [Ballenger’s chief of staff] – rather than Ballenger himself –
               about the marital separation.”140

               There are two problems with this passage. The first is that it is unpersuasive.

Gossip about a congressperson’s marriage may very well be interesting to the public. But that

fact does not transform it into the official business of the United States Congress. The job

description of a congressperson does not include transparency about one’s personal life.

               In addition, Ballenger misstates D.C. law – and not only in the manner described

above. A plaintiff is not required, as the court asserted, to show that the defendant’s “statement

was purely private, unrelated to any matter of public concern.”141 A real but insubstantial



       139

               Id. This language tracks Section 228(1)(a) of the Restatement. But that is only one element
               of the definition of scope of employment. See RESTATEMENT (SECOND) OF AGENCY
               § 228(1) (listing four elements); see also, e.g., id. § 228(1)(c) (requiring that the conduct
               be “actuated, at least in part, by a purpose to serve the master”).
       140

               Ballenger, 444 F.3d at 665.
       141

               Id. (emphasis added).
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                                                                                                        50

purpose to serve the master is insufficient. “‘Conduct of a servant [that] is . . . too little actuated

by a purpose to serve the master’ is not within the scope of employment.”142

               The implications of Ballenger’s holding also are troubling. The case stands for

the proposition that, under D.C. law, virtually any remarks that Members of Congress make to

the press are conduct within the scope of their employment. Setting aside the master-servant

question that the court did not address, this means that Members of Congress, and perhaps all

federal officials who speak to the press with any regularity, effectively are immune from

defamation claims for comments made within the District of Columbia, no matter how personal

or private in nature.

               Ballenger acknowledged this concern. But it made no attempt to assuage it. It

noted merely that the case was limited to its facts.143

               A subsequent panel of the D.C. Circuit did not accept the invitation to read

Ballenger so narrowly. In Wuterich, the court held that Ballenger controlled where a Member of

Congress was sued for defamation based on his comments about the Iraq War.144                      Unlike


       142

               Bamidele, 103 A.3d at 525 (quoting RESTATEMENT (SECOND) OF AGENCY § 228(2)).
               Although Ballenger includes this language when it quotes the entirety of Section 228, its
               analysis does not engage with it.
       143

               See Ballenger, 444 F.3d at 666 (“This case, like every judicial decision, cannot be divorced
               from its facts. To be sure, it involves a statement by a congressman to the press. But our
               ratio decidendi necessarily depends on the context in which the statement was made. See
               KARL LLEWELLYN, THE BRAMBLE BUSH 72-76 (Oceana Publications, 1981) (1930) (Those
               ‘who think that precedent produces or ever did produce a certainty that did not involve
               matters of judgment and of persuasion . . . simply do not know our system of precedent in
               which they live.’). We lack the power to render an opinion on any case or controversy not
               properly before us.”).
       144

               Wuterich, 562 F.3d at 384.
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                                                                                                        51

Ballenger, however, Wuterich considered the relationship between the congressperson’s remarks

and his official duties. It relied on the fact that “the underlying conduct – interviews with the

media about the pressures on American troops in the ongoing Iraq war – is unquestionably of the

kind that [the defendant] was employed to perform as a Member of Congress,” particularly

because he “was the Ranking Member of the Appropriations Committee’s Subcommittee on

Defense and had introduced legislation to withdraw American troops from Iraq.”145

               The Court declines to apply a Ballenger-like principle to the president on the facts

of this case. Perhaps the president, were he in service of a “master,” would act within the scope

of his employment when he comments on matters having a non-negligible nexus to his official

duties. But there is no basis for concluding that a D.C. court would ignore the nature and content

of his statements and hold that anything he says is within the scope of his employment. A

comment about government action, public policy, or even an election is categorically different

than a comment about an alleged sexual assault that took place roughly twenty years before the

president took office. And the public’s reasons for being interested in these comments are

different as well. The president’s views on the former topics are interesting because they alert

the public about what the government is up to. President Trump’s views on the plaintiff’s sexual

assault allegation may be interesting to some, but they reveal nothing about the operation of

government.




       145

               Id. at 384-85. These facts are irrelevant under Ballenger’s broader holding that essentially
               any comment a Member of Congress makes to the press is done within the scope of his or
               her employment. That said, Wuterich did not purport to narrow Ballenger or limit the case
               to its facts.
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                                                                                                 52

                  The government’s best argument on this point is that President Trump’s

statements about Ms. Carroll were within the scope of his employment in that refuting her

accusation furthered his ability to govern effectively because the accusation was reported widely

and charged him with the commission of a serious crime. But there are at least three answers to

that objection.

                  As an initial matter, the government first made the argument in its reply brief,

thereby foreclosing the plaintiff from responding to it. As previously discussed, it thereby

waived the argument as its counsel agreed in open court, as previously discussed.

                  Second, the Court would reject the argument even if it were not waived. While

the government’s position is not entirely without merit, it goes much too far. Accepting it would

mean that a president is free defame anyone who criticizes his conduct or impugns his character

– without adverse consequences to that president and no matter what injury he inflicts on the

person defamed. Indeed, the same would be true for many government officials, who plausibly

could argue that criticism of their behavior or character, even if completely unrelated to their

government employment, would undermine their ability to perform effectively while in office.

                  Finally, even if the president’s comments here had some nexus to his official

duties, that nexus would be too weak. As stated several times now, “‘[c]onduct of a servant

[that] is . . . too little actuated by a purpose to serve the master’ is not within the scope of

employment.”146 That is the case here.




       146

                  Bamidele, 103 A.3d at 525 (quoting RESTATEMENT (SECOND) OF AGENCY § 228(2)).
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                                                                                                     53

               Beyond the District of Columbia precedent already discussed, support for this

conclusion comes from the Supreme Court’s decision in Clinton v. Jones.147 Much like in this

case, a plaintiff sued the sitting president for defamation after she accused him of engaging in

sexual misconduct before he took office.148 Her theory was that “various persons authorized to

speak for the President publicly branded her a liar by denying that the incident had occurred.” 149

               As relevant here, the Supreme Court held that President Clinton was not

absolutely immune from suit by virtue of his office where the claims against him were based on

his “unofficial conduct.”150 As to most of the plaintiff’s claims, the Court explained, “it is

perfectly clear that the alleged misconduct of [President Clinton] was unrelated to any of his

official duties as President of the United States and, indeed, occurred before he was elected to

that office.”151 The one possible exception was the alleged defamatory comments that were

made while he was in office. The Court noted that the defamation claim “arguably may involve




       147

               520 U.S. 681 (1997).
       148

               Id. at 685-86; see also Jones v. Clinton, 72 F.3d 1354, 1357 (8th Cir. 1996) (1997) (“Her
               complaint also includes two supplemental state law claims, one against Mr. Clinton for
               intentional infliction of emotional distress and the other against both Mr. Clinton and
               Trooper Ferguson for defamation.”).
       149

               Clinton, 520 U.S. at 685.
       150

               Id. at 694 (emphasis in original); see also id. at 695 (“As our opinions have made clear,
               immunities are grounded in the nature of the function performed, not the identity of the
               actor who performed it.” (citation and quotation marks omitted)).
       151

               Id. at 686.
        Case 1:20-cv-07311-LAK Document 32 Filed 10/27/20 Page 56 of 61




                                                                                                54

conduct within the outer perimeter of the President’s official responsibilities.”152 But because

that issue was “not before [the Court],” it declined to consider whether the president’s absolute

immunity extended to these comments.153

               Although both doctrines call for some assessment of whether the defendant was

engaged in the performance of his job, the absolute immunity doctrine is different than D.C.’s

scope of employment doctrine. But as to the president’s job description, Clinton suggests that a

sitting president’s comments about a sexual assault allegation fall somewhere between being

outside the scope of his duties and “arguably . . . within [their] outer perimeter.” At least where

D.C. law is concerned, conduct that is “too little actuated by a purpose to serve the master” does

not suffice.154 It is difficult to see how conduct that at most is in the “outer perimeter” of the

president’s job duties could be actuated in any meaningful degree to serve his master, whomever

that may be.

               In this regard, the Court notes also that all of the remaining Westfall Act

defamation decisions relied upon by the government are distinguished easily from this case –

and not merely because each of them concerned a Member of Congress. Although the Sixth

Circuit’s Does 1-10 case involved a defamation claim against a Senator who commented “on an

event of widespread public interest,” the decision applied Kentucky’s scope of employment




       152

               Id.
       153

               Id. at 686 n.3.
       154

               Bamidele, 103 A.3d at 525 (quoting RESTATEMENT (SECOND) OF AGENCY § 228(2)).
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                                                                                                       55

law.155 According to the Supreme Court of Kentucky decision relied upon by the Sixth Circuit,

Kentucky’s doctrine is similar to the Restatement (Third) of Agency approach.156 While that

approach resembles in some ways Section 228 of the Restatement (Second) of Agency,157 the

drafters intentionally omitted the “too little actuated” standard discussed above:

               “Under § 228(2), conduct is not within the scope of employment if it is ‘too little
               actuated by a purpose to serve’ the employer. Under § 235, conduct is not within
               the scope of employment ‘if it is done with no intention’ to perform an authorized
               service or an incidental act. These formulations are not entirely consistent; an act
               motivated by some purpose to serve the employer could still be ‘too little
               actuated’ to be within the scope of employment.

               In contrast, under subsection (2) of [Section 7.07 of the Restatement (Third)], an
               employee’s conduct is outside the scope of employment when it occurs within an
               independent course of conduct intended to serve no purpose of the employer.”158

As explained, the “too little actuated” caveat is decisive on these facts to the extent that one

considers President Trump’s comments to have been actuated in some small part to serve

whomever one believes to be his “master.” Thus, the Sixth Circuit’s interpretation of Kentucky

law is of no moment here.

               The government’s remaining cases involve the laws of different jurisdictions or

Members of Congress who commented on matters related clearly to their job duties. Wuterich



       155

               No. 19-6347, 2020 WL 5242402, at *2, 6.
       156

               Patterson v. Blair, 172 S.W.3d 361, 369 (Ky. 2005) (“Kentucky’s approach . . . [focuses
               on whether the servant’s] purpose, however misguided, is wholly or in part to further the
               master’s business.”).
       157

               A key difference is that the Restatement (Third) abandons the foreseeability element of the
               Restatement (Second). See RESTATEMENT (THIRD) OF AGENCY § 7.07 (2006), cmt.
       158

               Id. (citation omitted, emphasis added).
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involved D.C. law but concerned remarks that the D.C. Circuit found were “unquestionably of

the kind that [the defendant] was employed to perform as a Member of Congress.”159 Williams v.

United States160 involved a Texas congressperson’s comments “concerning the status of an

appropriations bill to restore the Battleship Texas.”161 And the case applied Texas’s scope of

employment doctrine, which differs from the Restatement (Second) approach.162 And Operation

Rescue National v. United States163 did not consider whether the defendant’s comments were

made within the scope of his employment because the issue was not raised on appeal. The

district court did consider that issue, but it did so under Massachusetts law where the defendant,

a Senator, commented on a “bill, of which he was the prime sponsor, [that] was to be debated in

the Senate the following day.”164

               President Trump’s comments concerned media reports about an alleged sexual

assault that took place more than twenty years before he took office. Neither the media reports

nor the underlying allegations have any relationship to his official duties.         And even if

commenting on this matter fell within the outer perimeter of those duties, that faint nexus is not



       159

               Wuterich, 562 F.3d at 384-85.
       160

               71 F.3d 502 (5th Cir. 1995).
       161

               Id. at 504, 506.
       162

               See id. at 506 (citing Mata v. Andrews Transp., Inc., 900 S.W.2d 363, 366 (Tex. App.
               1995)).
       163

               147 F.3d 68, 69 (1st Cir. 1998).
       164

               Id. at 68-69.
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                                                                                                      57

enough under the District of Columbia’s scope of employment doctrine.



       C.      Scope of Employment Under New York Law

               If the Court were to apply New York law, it would reach the same conclusion

largely for the same reasons.

               “Under New York law, an employee acts within the scope of his employment

when (1) ‘the employer is, or could be, exercising some control, directly or indirectly, over the

employee’s activities,’ and (2) ‘the employee is doing something in furtherance of the duties he

owes to his employer.’”165 “Whether an employee acted within the scope of employment is a

fact-based inquiry.”166

               For all the reasons already outlined, any person or group that might be

characterized as President Trump’s employer neither controls, nor could control, his activities.

And even if that were not so, the government’s argument would fail also because the president’s

actions were not taken “in furtherance of the duties he owes to his employer,” whoever or

whatever that may be.

               When applying the “in furtherance” requirement, New York courts “consider,

among other factors,

       165

               Fountain, 838 F.3d at 135 (brackets omitted) (quoting Hamm, 483 F.3d at 138 (quoting
               Lundberg, 25 N.Y.2d at 471)).
       166

               Rivera v. State, 34 N.Y.3d 383, 90 (2019). Although it is fact heavy, “the question may be
               resolved on summary judgment, particularly when the material facts are undisputed.” Id.
               This language arguably does not apply here because the scope of employment question
               arises as a threshold issue, rather than as a merits issue on summary judgment or even a
               Rule 12 motion. But in either event, the issue is resolved appropriately by the Court
               because the material facts are not in dispute.
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               ‘the connection between the time, place and occasion for the act; the history of
               the relationship between employer and employee as spelled out in actual practice;
               whether the act is one commonly done by such an employee; the extent of
               departure from normal methods of performance; and whether the specific act was
               one that the employer could reasonably have anticipated’ (i.e., whether it was
               foreseeable).”167

               Conduct “committed for wholly personal motives” is not done in furtherance of

any duties owed to the employer.168 And at least as a general matter, “New York courts

consistently have held that sexual misconduct and related tortious behavior arise from personal

motives and do not further an employer’s business, even when committed within the

employment context.”169 That said, “[i]nvoking respondeat superior both in defamation cases

and in sexual harassment cases is not unprecedented.”170 As in all cases, “the determination of

whether a particular act was within the scope of the servant’s employment is . . . heavily

dependent on factual considerations.”171

               As explained above, the undisputed facts demonstrate that President Trump was

not acting in furtherance of any duties owed to any arguable employer when he made the

statements at issue. His comments concerned an alleged sexual assault that took place several

decades before he took office, and the allegations have no relationship to the official business of

       167

               Rivera, 34 N.Y.3d at 389-90 (2019) (quoting Riviello v Waldron, 47 N.Y.2d 297, 304
               (1979)); see also Fountain, 838 F.3d at 138 (applying these factors to the “in furtherance”
               inquiry).
       168

               See, e.g., N.X. v. Cabrini Med. Ctr., 97 N.Y.2d 247, 251 (2002).
       169

               Ross v. Mitsui Fudosan, Inc., 2 F. Supp. 2d 522, 531 (S.D.N.Y. 1998).
       170

               Rausman v. Baugh, 682 N.Y.S.2d 42 (App. Div. 2d 1998).
       171

               Riviello v. Waldron, 47 N.Y.2d 297, 303 (1979).
         Case 1:20-cv-07311-LAK Document 32 Filed 10/27/20 Page 61 of 61



                                                                                                  59

the United States. To conclude otherwise would require the Court to adopt a view that virtually

everything the president does is within the public interest by virtue of his office.             The

government has provided no support for that theory, and the Court rejects it as too expansive.



                                           Conclusion

               The President of the United States is not an "employee of the Government"

within the meMing of the relevant statutes. Even if he were such an "employee," President

Trump 's allegedly defamatory statements concerning Ms. Cal.Toll would not have been within

the scope of his employment. Accordingly, the motion to substitute the United States in place of

President Trump [Dkt. 3] is denied.

               SO ORDERED.

Dated:         October 26, 2020
